                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:03CR12-2


UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )
               v.                             )              ORDER
                                              )
WOODROW JAMAAL JOHNSON,                              )
                                    )
                                    )
____________________________________)


       THIS MATTER comes before the Court upon Appellant’s Application to Proceed In Forma

Pauperis (Document No. 127).

       A appeal to the Fourth Circuit requires a filing and docketing fee of $255.00. Fed..R. App.

Pro. Rule 3(c). The Clerk for the Fourth Circuit directed Appellant’s counsel to file a CJA 23

Affidavit with the district court if Appellant was unable to pay the filing fee. After reviewing the

CJA 23 Financial Affidavit in support of the application to proceed in forma pauperis, the Court

concludes that the Petitioner is unable to pay the filing fee. Accordingly, his motion to proceed in

forma pauperis is granted.




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                       Signed: August 26, 2005




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